                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK




 BARBARA ANN HARTKE, an individual
 on her own behalf and on behalf of the Estate
 of decedent Gilbert V. Hartke

                                                   Civil Action No.: 22-03571
        Plaintiff,

 v.

 BONHAM’S & BUTTERFIELD’S
 AUCTIONEERS CORPORATION, A
 DELAWARE CORPORATION; THE
 CATHOLIC UNIVERSITY OF AMERICA,
 A NON-PROFIT DISTRICT OF
 COLUMBIA CORPORATION

        Defendants.




      PLAINTIFF’S BRIEF IN SUPPORT OF APPLICATION FOR PRELIMINARY

              INJUNCTION AND TEMPORARY RESTRAINTING ORDER

       Pursuant to Federal Rule of Civil Procedure 65, Plaintiffs Barbara Ann Hartke

individually and on behalf of the Estate of Gilbert V. Hartke, by and through undersigned

counsel respectfully move the Court for a Preliminary Injunction with Temporary Restraining

Order against defendant Bonham’s & Butterfield’s (Bonham’s) to halt and restrain irreparable

injury which will be incurred to plaintiff’s personal property in the form of a certain costume
used in the film known as the Wizard of Oz as described in more detail in the contents of the

Verified Complaint. The property is currently scheduled to be auctioned to the general public on

May 24, 2022 in Los Angeles California at 1pm PDT for sale to the highest bidder. The specific

relief requested is set out in Plaintiff’s proposed temporary restraining order that accompanies

this motion. The grounds for the motion are set forth herein and supported by the contents of the

Verified Complaint on May 3,2022.

       The property wrongfully came into the possession of defendant Bonham’s as a result of

the employment of Bonham’s auctioning service by the co-defendant The Catholic University of

America (Catholic University). Plaintiff alleges in the Verified Complaint that Catholic

University is not the rightful owner of the property which is owned by the Estate of Gilbert V.

Hartke. The property is alleged to be currently located in this District. Because plaintiff’s asset

is in Defendant’s possession and will be sold to the highest bidding party, plaintiff’s will

effectively lose the ability to reclaim possession of hers and, or the estate’s property once the

auction takes place. Temporary restraints are therefore necessary to maintain the status quo ante

until the claims in the Verified Complaint are adjudicated. The property is unique and historic;

its market value is unknown as being without any objectively comparatively property being sold

anywhere in the world, thus precluding any remedy at law. Plaintiff meets all other requirements

for the issuance of temporary restraints regarding Plaintiff’s property in Defendant Bonham’s

possession, and, given the pending auction, is entitled to injunctive relief from this Court on an

emergency basis. Without emergency treatment and the entry of temporary restraints , Plaintiffs’

assets are likely to disappear without sufficient recourse.

       Wherefore, Plaintiff respectfully requests that the Court grant Plaintiffs’ Motion for a

Preliminary Restraints and a Temporary Injunction enjoining the Defendant, its officers, agents,
employees and all other person acting in active concert with them, from auctioning, selling,

physically transferring out of this District, converting or otherwise disposing of the specified

property unless and until the temporary restraints are dissolved by this court.




                                  FACTUAL ALLEGATIONS

       Plaintiff Barbara A. Hartke relies upon and incorporates by reference the facts set forth in

the Verified Complaint as sworn to by plaintiff Barbara Ann Hartke, individually and on behalf

of the Estate of Gilbert V. Hartke.

                                          ARGUMENT

       I.     Plaintiffs are entitled to immediate relief enjoining defendant from selling,
            auctioning or otherwise transferring plaintiff’s property from the District until
                                        further order of this court.


   A. Legal Standard for A Preliminary Injunction.

       On both a preliminary injunction motion and application for a temporary restraining

order, the district court must consider the following factors: a. The extent to which the applicant

is being irreparably harmed by the conduct complained of; and b. either the likelihood that the

movant will succeed on the merits, or that the merits present serious questions for litigation and

the balance of the hardships tips decidedly in the movant’s favor. Fisher-Price v. Well-Made Toy

Mfg. Corp., 25 F. 3d 119, 122 (2d Cir. 1994). The moving party need not show that success is an

absolute certainty to meet the likelihood of success standard but only that the likelihood exceeds

fifty percent. Abdul Wali v. Coughlin, 754 F. 2d 1015 (2d cir. 1985).
   B. Plaintiffs’ have demonstrated substantial likelihood of success by setting forth a
      prima facie case of her right to return of personal property i.e. replevin and for
      conversion.

       Plaintiffs here can demonstrate a reasonable probability of success on her claims for

conversion and her claim for return of personal property, also known as replevin. Conversion

takes place when someone intentionally and without authority assumes or exercises control of

personal property belonging to someone else, interfering with that person’s right or possession.

Reif v. Nagy, 175 A.D. 107 (1st Dept. 2019). Replevin is the common law civil action where an

owner seeks to regain possession of his property that is taken or being held by another. Black’s

Law Dictionary. In order to state a cause of action for replevin a plaintiff must allege that he or

she owns the property, is legally entitled to possess it, and that the defendant unlawfully withheld

the property from the plaintiff. Khoury v, Khoury, 912 NYS 2d 235 (2d Dept. 2010). To

establish a cause of action for replevin, a plaintiff must establish a superior possessory right to

property in a defendant’s possession. Reif, supra.

       Here plaintiff can demonstrate that the Estate owned the property in question and the gift

to decedent from one Mercedes McCambridge was well documented when it occurred in 1973.

The valid gift from McCambridge is essentially undisputed. What is disputed is defendant

Catholic University’s claim that decedent gave either an inter vivos gift or bequest of the subject

property to the University. To create an inter vivos gift, there must be intent on the part of the

donor to present a transfer, delivery of the gift, either actual or constructive to the donee and

acceptance by the donee. Reif, supra. The proponent of a gift has the burden of proving each of

these elements by clear and convincing evidence. Ibid.
       Here, plaintiff has established the decedent’s ownership and there is no evidence that he

made a valid inter vivos gift or testamentary bequest to defendant Catholic University. Plaintiff

can establish a probability of success that hers and the estate’s claims for conversion and

replevin will be successful .



   C. Plaintiffs May will experience Irreparable Injury in The Absence of A Temporary
      Injunction.


   Irreparable harm should be shown by the moving party to be imminent, not remote or

speculative and the alleged injury must be one incapable of being fully remedied by monetary

damages. Reuters Ltd. V. UPI International Inc., 903 F. 2d 904 (2d Cir. 1990). Section 7109 of

the New York Civil Practice Law and Rules authorizes courts to grant a preliminary injunction

where the chattel is unique. Where the chattel is unique, the court may grant a preliminary

injunction or temporary restraining order that the chattel shall not be removed from the state,

transferred, sold, pledged, assigned or otherwise disposed of until the further order of the court.

Kosar v. Christie’s Inc., 2011 WL 1886585 (NY Sup. Ct. 2011).

   Here, the property in question is clearly unique and injury suffered to the estate is not

measurable in monetary damages. Plaintiff’s claim of ownership is valid and presumptive. The

fact that plaintiff will not be damaged by the auction sale is clear under these circumstances

given the unique nature of the property being auctioned. The property’s value cannot be

measured with anything comparable on the market and the auction is no guarantee that the price

obtained reflects its actual value. Furthermore, the sentimental value to plaintiff and to the rest of

the world cannot be measured.
    D. The Balance of Hardships Favors Plaintiffs

        Before granting an injunction, a district court must balance the relative harm to the

parties, i.e., the potential injury to the plaintiffs if an injunction does not issue versus the

potential injury to the defendant if the injunction is issued. S.C. Cowen Secs. V. Messih, 224 F.

3d. 79 (2d. Cir. 2000). Entry of an injunction here is warranted and will place no undue burden

on the defendants. Defendants cannot argue that the delay in auctioning the property will cause

any harm whatsoever given the time that has elapsed since the death of decedent. There is no

indication that the fair market value will experience any real change should the auction be

postponed pending resolution of this litigation. Plaintiff will be the party harmed here should

this auction not be enjoined. She was not notified and placed in the untenable position of

retaining counsel on short notice and litigating in a distant forum.




    E. A Preliminary Injunction Is Needed to Protect the Public Interest

        There is a strong public interest for the court to enter an injunction here.

This property is a important to the American public for reasons that are articulated

in the Verified Complaint. The fact that an important part of Americana will not

be in the public realm and be lost forever.



                                CONCLUSION
       Based on the aforementioned facts and law, this court should enjoin

defendant from transferring the property at issue out of this District temporarily as

well as enjoin scheduling of an auction.




                                                      s/Anthony Scordo
Dated: May 6, 2022                                    ____________________________
                                                      Anthony Scordo
                                                      Proposed Attorney for Plaintiffs
                                                      Seeking admission pro hac vice
